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                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON



UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NO. 2:97-00143-05

GREGORY ALLEN GOINS



         SUPERVISED RELEASE REVOCATION AND JUDGMENT ORDER

                      MEMORANDUM OPINION AND ORDER

           On April 5, 2005, the United States of America appeared

by Joshua C. Hanks, Assistant United States Attorney, and the

defendant, Gregory Allen Goins, appeared in person and by his

counsel, Edward H. Weis, Assistant Federal Public Defender, for a

hearing on the petition on supervised release submitted by United

States Probation Officer Teresa L. Eggerud, the defendant having

commenced a twenty-four-month term of supervised release in this

action on July 22, 2004, as more fully set forth in the Judgement

Order on Revocation entered by the court on June 19, 2003.


           The court heard the admissions of the defendant and the

representations and argument of counsel.


           For reasons noted on the record of this proceeding,

which are ORDERED incorporated herein by reference, the court

found that the defendant has violated the conditions of super-
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vised release in the following respects:              (1) that the defendant

failed to follow the instructions of the probation officer

inasmuch as he failed to contact her after she telephoned Mr.

Goins’ residence on January 19, 20 and 24, 2005, and left mes-

sages with his spouse asking that he contact her, the defendant

having acknowledged on the record of the hearing that he received

the messages; (2) that the defendant used and possessed con-

trolled substances as evidenced by a positive urine specimen

submitted by him on November 15, 2004, for cocaine, and a posi-

tive urine specimen submitted by him on January 6, 2005, for

cocaine and marijuana; (3) that the defendant used and possessed

marijuana as acknowledged by him to the probation officer on

March 3, 2005, that he had used within one or two weeks prior to

that date; (4) that the defendant failed to submit monthly report

forms for the months of November and December 2004 and January

2005; and (5) that the defendant failed to report for urinalysis

as directed on January 3, 21 and 25, 2005; and February 2, 8, 15

and 24, 2005; all as admitted by the defendant on the record of

the hearing and as set forth in the petition on supervised

release.


           And the court finding, as more fully set forth on the

record of the hearing, that the violations warrant revocation of

supervised release and, further, that it would unduly depreciate

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the seriousness of the violations if supervised release were not

revoked, it is ORDERED that the supervised release previously

imposed upon the defendant in this action be, and it hereby is,

revoked.


           And the court having complied with the requirements of

Rule 32(a)(1)(B) and (C) of the Federal Rules of Criminal Pro-

cedure, and finding, on the basis of the original offense and the

intervening conduct of the defendant, that the defendant is in

need of correctional treatment which can most effectively be

provided if he is confined, it is accordingly ORDERED that the

defendant be, and he hereby is, committed to the custody of the

United States Bureau of Prisons for imprisonment for a period of

TWELVE (12) MONTHS.      It is further ORDERED that, with respect to

defendant's twelve-month term of imprisonment, he shall receive

credit for time served while in custody awaiting hearing and

sentencing from March 2, 2005, to April 5, 2005.


           The defendant was remanded to the custody of the United

States Marshal.


           Recommendation:     The court recommends that the defen-

dant be afforded substance abuse counseling and treatment and be




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designated to FCI, Ashland, Kentucky, or, alternatively, as close

to Charleston, West Virginia, as feasible.


           The Clerk is directed to forward copies of this written

opinion and order to the defendant, all counsel of record, the

United States Probation Department, and the United States Mar-

shal.



                                         DATED:       April 28, 2005




                                         John T. Copenhaver, Jr.
                                         United States District Judge




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